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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
JOSEPH R. CROSBY                   )           (WO)


                                ORDER

    It is ORDERED as follows:

    (1) Defendant Joseph R. Crosby’s motion for acquittal

(Doc. No. 1755) is reset for submission, without oral

argument, on October 7, 2011.

    (2) By September 16, 2011, defendant Crosby is to

file a brief in support of his motion.

    (3) By September 30, 2011, the government is to file

a response.

    (4) By October 7, 2011, defendant Crosby may file a

reply.

    (5) With regard to the briefs, the court makes two

observations.      First, Crosby’s motion for acquittal is

inadequate as to sufficiency of the evidence.                     It is
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conclusory at best.         All briefs addressing the motion

must explain in detail how, point by point, the trial

evidence is allegedly lacking or is adequate.                   Second,

any brief addressing the trial evidence should cite where

the evidence can be found in the trial transcripts, by

page and line.

    DONE, this the 7th day of September, 2011.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
